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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND


MARK EKE
                                                         Civil Action No.: 8:18-cv-02941-PX
          Plaintiff,
v.

UNITED THERAPEUTICS, et. al.

          Defendants.

______________________________________________________________________________

                    MOTION TO WITHDRAW AS COUNSEL
______________________________________________________________________________

          NOW COMES, attorneys Ikechukwu Emejuru, Onyebuchim Chinwah, and Andrew Nyombi,

and respectfully states as follows:

           Notwithstanding three years of zealous representation, Plaintiff has retained new counsel for

this matter. Therefore, withdrawal by the above counsel is warranted. Plaintiff’s new counsel has

informed existing counsel that she has been retained and will enter an appearance. All parties, including

new and opposing counsel will be informed of an attorney’s lien from counsel, which shall be placed

on this matter, should any resolution be reached, or judgment entered in Plaintiff’s favor.1

          Pursuant to Local Rule 101, an appearance of new counsel is forthcoming, the last known

address of Plaintiff is 8710 Cameron Street, Apt. 822, Silver Spring, MD 20910. Furthermore, Plaintiff

was provided written notice at least seven days previously advising Plaintiff counsel’s withdrawal and

the need to retain new counsel for this matter.



                                                  By: /s/ Ikechukwu Emejuru________
                                                      Ikechukwu Emejuru

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    Pursuant to the local rules, counsel is providing quarterly statements to Defendants.


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